Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 1 of 182




            EXHIBIT 188
            REDACTED
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 2 of 182




                                  1
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 3 of 182




                                  2
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 4 of 182




                                  3
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 5 of 182




                                  4
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 6 of 182




                                  5
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 7 of 182




                                  6
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 8 of 182




                                  7
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 9 of 182




                                  8
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 10 of 182




                                   9
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 11 of 182




                                  10
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 12 of 182




                                  11
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 13 of 182




                                  12
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 14 of 182




                                  13
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 15 of 182




                                  14
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 16 of 182




                                  15
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 17 of 182




                                  16
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 18 of 182




                                  17
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 19 of 182




                                  18
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 20 of 182




                                  19
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 21 of 182




                                  20
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 22 of 182




                                  21
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 23 of 182




                                  22
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 24 of 182




                                  23
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 25 of 182




                                  24
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 26 of 182




                                  25
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 27 of 182




                                  26
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 28 of 182




                                  27
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 29 of 182




                                  28
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 30 of 182




                                  29
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 31 of 182




                                  30
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 32 of 182




                                  31
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 33 of 182




                                  32
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 34 of 182




                                  33
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 35 of 182




                                  34
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 36 of 182




                                  35
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 37 of 182




                                  36
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 38 of 182




                                  37
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 39 of 182




                                  38
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 40 of 182




                                  39
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 41 of 182




                                  40
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 42 of 182




                                  41
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 43 of 182




                                  42
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 44 of 182




                                  43
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 45 of 182




                                  44
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 46 of 182




                                  45
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 47 of 182




                                  46
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 48 of 182




                                  47
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 49 of 182




                                  48
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 50 of 182




                                  49
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 51 of 182




                                  50
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 52 of 182




                                  51
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 53 of 182




                                  52
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 54 of 182




                                  53
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 55 of 182




                                  54
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 56 of 182




                                  55
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 57 of 182




                                  56
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 58 of 182




                                  57
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 59 of 182




                                  58
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 60 of 182




                                  59
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 61 of 182




                                  60
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 62 of 182




                                  61
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 63 of 182




                                  62
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 64 of 182




                                  63
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 65 of 182




                                  64
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 66 of 182




                                  65
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 67 of 182




                                  66
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 68 of 182




                                  67
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 69 of 182




                                  68
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 70 of 182




                                  69
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 71 of 182




                                  70
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 72 of 182




                                  71
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 73 of 182




                                  72
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 74 of 182




                                  73
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 75 of 182




                                  74
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 76 of 182




                                  75
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 77 of 182




                                  76
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 78 of 182




                                  77
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 79 of 182




                                  78
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 80 of 182




                                  79
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 81 of 182




                                  80
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 82 of 182




                                  81
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 83 of 182




                                  82
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 84 of 182




                                  83
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 85 of 182




                                  84
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 86 of 182




                                  85
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 87 of 182




                                  86
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 88 of 182




                                  87
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 89 of 182




                                  88
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 90 of 182




                                  89
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 91 of 182




                                  90
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 92 of 182




                                  91
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 93 of 182




                                  92
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 94 of 182




                                  93
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 95 of 182




                                  94
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 96 of 182




                                  95
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 97 of 182




                                  96
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 98 of 182




                                  97
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 99 of 182




                                  98
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 100 of 182




                                   99
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 101 of 182




                                  100
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 102 of 182




                                  101
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 103 of 182




                                  102
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 104 of 182




                                  103
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 105 of 182




                                  104
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 106 of 182




                                  105
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 107 of 182




                                  106
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 108 of 182




                                  107
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 109 of 182




                                  108
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 110 of 182




                                  109
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 111 of 182




                                  110
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 112 of 182




                                  111
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 113 of 182




           Re: Press questions
           •

           From:
           To:
           Cc:



                                                                n<                >

           Date:          Wed, 28 Sep 2022 09:10:38 -0400
           Attachments:   Nainggolan (2022) WPATH
                                              WRATH Removes Age Limits From Transgender Treatment
                          Guidelines_medscape.pdf (163.81 kB); Nainggolan (2022) WRATH
                                                                                    WPATH Removes Age
                          Limits From Transgender Treatment Guidelines_medscape.pdf (163.81 kB); Block
                          (2022) US transgender health guidelines leave age of treatment initiation open to
                          clinical judgment _ The BMJ.pdf (546.96 kB)

           dear all

           You might have seen these publications, but good to know that both journalists had reached
           out to me for my response on the deletion of the age criteria, for which I have directed them
           to WPATH.

           best




           Van:
           Verzonden: zaterdag 24 september 2022 23:36
           Aan:
           CC:




           Onderwerp: Re: Press questions




CONFIDENTIAL -— SUBJECT TO PROTECTIVE ORDER                                                        BOEAL WPATH 137210
                                                                                                   BOEAL_WPATH_137210


                                                        112
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 114 of 182




           I like this. Exactly- individualized care is the best care- that's a positive message and a strong
           rationale for the age change.

           On Sat, Sep 24, 2022 at 5:17 PM Dr. Marci Bowers <                            > wrote:
            hi all—
            this is my basic response. feel free to provide input but, for me, this was the gist of myresponse to
            Reuters: (there is no shame in our removal of the age minimums). "since the open comment
            period, a great deal of input has been received and continued to be received until the final release.
            i feel the final document puts the emphasis back on individualized patient care rather than some
            sort of minimal final hurdle that could encourage superficial evaluations and treatments outside of
            the thorough and comprehensive pathway recommended by WPATH standards."

             i do think we need to speak more as a cohesive voice. clamming up to the media is not a healthy
             response and invites suspicion.

             Kindly

             Marci Bowers MD
             WPATH President
             Trevor Project Board of Directors




             Standing tall in times of darkness


               On Sep 22, 2022, at 12:56 PM,
                                                  > wrote:




               Dear

               So I can tell a Dutch journalist to contact the WPATH to get the answer what the
               consequences for Dutch care will be?

               I cant refuse media requests about general questions. And I must have an answer to the
               questions I asked, because they will ask me about it

               Sorry
               I don't think you suggestion is an option that works.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL WPATH 137211
                                                                                                           BOEAL_WPATH_137211


                                                              113
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 115 of 182




                Op 22 sep. 2022 om 21:47 heeft                                                      het
                volgende geschreven:


                Hi
                We are avoiding speaking with the press at this time. Everything needs to go through
                WPATH.
                Thanks,


                Sent from my iPhone


                  On Sep 22, 2022, at 3:00 PM,
                                                     wrote:


                  Dear all

                  Can I please get an answer on my questions below, I will be talking to a journalist
                  tomorrow morning.


                  Gr




                    Op 21 sep. 2022 om 00:26 heeft
                                                  het volgende geschreven:


                       Hi

                    Excellent question about how to respond.

                    While I have some suggestions, I think it's best we all get on the same exact
                    page, and PRONTO.

                    Copying others to ensure we get this managed as soon as possible.

                    Thanks!


                    Sent from my iPhone




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                              BOEAL WPATH 137212
                                                                                                        BOEAL_WPATH_137212


                                                         114
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 116 of 182




                      On Sep 20, 2022, at 3:22 PM,
                                                      > wrote:


                      Dear workgroup and

                      I am getting several questions from international and Dutch press why the
                      age criteria have been removed from the adolescent chapter
                      And especially what happened between the previous version and final
                      version in the SOC

                      Can you please inform me what your arguments were to remove it and why
                      this happend in such a late phase

                      Thanks




CONFIDENTIAL -— SUBJECT TO PROTECTIVE ORDER                                                       BOEAL WPATH 137213
                                                                                                  BOEAL_WPATH_137213


                                                       115
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 117 of 182




           Re: Press questions
           •

           From:
           To:
           Cc:
           Date:               Wed, 28 Sep 2022 10:17:03 -0400
           Attachments:        Nainggolan (2022) WPATH Removes Age Limits From Transgender Treatment
                               Guidelines_medscape.pdf (163.81 kB); Nainggolan (2022) WPATH Removes Age
                               Limits From Transgender Treatment Guidelines_medscape.pdf (163.81 kB); Block
                               (2022) US transgender health guidelines leave age of treatment initiation open to
                               clinical judgment _ The BMJ.pdf (546.96 kB)


           Hi Marci.

                            and I are meeting shortly and will discuss.

           Just so I'm clear, you want us to have a formal statement at the ready that we can send all journalists
           who ask the question about why age requirements were removed?

           This is what we sent the LA Times..
                                       Times.... and what you sent this email chain is below that:

           "The SOC 8 is the most comprehensive evidence and consensus-based
           set of guidelines ever produced to assist health care professionals
           around the world in support of transgender and gender diverse adults,
           adolescents, and children who are taking steps to live their lives
           authentically. It is designed to be inclusive of transgender care globally,
           not only in the U.S.
               There was an open comment period that allowed input and feedback.

            The final version of the Standards of Care highlights the need for
           individualized, age-appropriate care and was developed through a
           rigorous evaluation process with the consensus of professionals in all
           kinds of medical and research fields.
           The release of the document was, unfortunately, complicated by posting of the wrong version by the
           publisher and has now been replaced by the correct version.

           Minimum ages for providing gender-affirming medical care were
           removed from SOC-8 and replaced by strengthened criteria to help
           guarantee that every transgender or gender diverse adolescent is getting
           their appropriate needs met at the appropriate time; these changes in
           SOC 8 reflect the fact that health care models are not one-size-fits-all
                                                                  one-size-f►ts-all for any
           individual person, which includes transgender and gender diverse people."

           Dr. Marci Bowers, MD




CONFIDENTIAL -— SUBJECT TO PROTECTIVE ORDER                                                             BOEAL WPATH 137243
                                                                                                        BOEAL_WPATH_137243


                                                              116
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 118 of 182




           President, World Professional Association for Transgender Health
           (WPATH)



               (there is no shame in our removal of the age minimums). "since the open comment period, a
               great deal of input has been received and continued to be received until the final release. i
               feel the final document puts the emphasis back on individualized patient care rather than
               some sort of minimal final hurdle that could encourage superficial evaluations and treatments
               outside of the thorough and comprehensive pathway recommended by WPATH standards."




             On Sep 28, 2022, at 9:58 AM, Dr. Marci Bowers <                            wrote:




             see my response below....
                                below... . can we get that statement formalized. we need to respond to these
             criticisms/ questions in real time.

             Kindly

             Marci Bowers MD
             WPATH President
             Trevor Project Board of Directors




             Standing tall in times of darkness

             Begin forwarded message:


               From:
               Date: September 28, 2022 at 6:10:43 AM PDT
               To: "Dr. Marci Bowers"
               Cc:


                                                         Eli Coleman <                 >,
               <a
               Subject: Re: Press questions



               dear all

               You might have seen these publications, but good to know that both journalists had
               reached out to me for my response on the deletion of the age criteria, for which I
               have directed them to WPATH.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                             BOEAL WPATH 137244
                                                                                                       BOEAL_WPATH_137244


                                                           117
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 119 of 182




               best




              Van:
              Verzonden: zaterdag 24 september 2022 23:36
              Aan: Dr. Marci Bowers <                     >
              CC:




                                                  ;■
                                                   ;■

              Onderwerp:
              Onderwerp:       e:   ress questions

              I like this. Exactly- individualized
                                    individualized care is the best care- that's a positive message and
                                                                                                    and a
              strong rationale for
              strong             for the age change.

              On Sat, Sep 24, 2022        5:17 PM
                                 2022 at 5:17   PM Dr. Marci
                                                         Marci Bowers <                                  wrote:
                                                                                                       > wrote:
                hi
                hi all—
               this is my
                       my basic response. feel feel free to provide input but, forfor me, this was
                                                                                                was the gist   of
                                                                                                          gist of
                                  Reuters: (there is no shame in our removal
                myresponse to Reuters:                                      removal ofof the age minimums). "since
                                                                                                                "since
                          comment period, a great deal
               the open comment                         deal of
                                                              of input
                                                                  input has been received      and continued
                                                                                    received and    continued to be
                received until
                received  until the final
                                    final release. i feel
                                                      feel the final
                                                               final document
                                                                      document puts the emphasis back   back on
                individualized patient care rather than some sort
                individualized                                       sort of
                                                                          of minimal   final hurdle that
                                                                             minimal final          that could
                                                                                                         could
                            superficial evaluations and
               encourage superficial                    and treatments outside of   of the thorough andand
               comprehensive pathway
                                  pathway recommended
                                             recommended by WPATH   WPATH standards."
                                                                              standards."

                i do think we
                           we need    speak more as a cohesive voice.
                              need to speak                    voice. clamming
                                                                      clamming up to the media is not a
                healthy response and
                                  and invites suspicion.

                Kindly

                Marci Bowers MD
                Marci
                WPATH President
                WPATH
                Trevor Project Board
                Trevor         Board of
                                     of Directors




               SUBJECT TO
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
                          PROTECTIVE ORDER                                                                        BOEAL WPATH 137245
                                                                                                                  BOEAL_WPATH_137245


                                                                118
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 120 of 182




                Standing tall in times of darkness


                  Or
                  On    r 22, 2022, at 12:56 PM,
                                                     wrote:



                  Dear,
                  Dear

                  So I can tell a Dutch journalist to contact the WPATH to get the answer what the
                  consequences for Dutch care will be?

                  I cant refuse media requests about general questions. And I must have an answer to
                  the questions I asked, because they will ask me about it

                  Sorry
                  I don't think you suggestion is an option that works.




                    Op 22 sep. 2022 om 21:47 heeft
                                                  het volgende geschreven:


                     Hi
                    We are avoiding speaking with the press at this time. Everything needs to go
                    through WPATH.
                    Thanks,


                    Sent from my iPhone


                       On Sep 22, 2022, at 3:00 PM,
                                                          wrote:


                       Dear all

                       Can I please get an answer on my questions below, I will be talking to a
                       journalist tomorrow morning.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                           BOEAL WPATH 137246
                                                                                                     BOEAL_VVPATH_137246


                                                          119
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 121 of 182




                      Gr




                       Op 21 sep. 2022 om 00:26 heeft
                                                     het volgende geschreven:


                           Hi

                       Excellent question about how to respond.

                       While I have some suggestions, I think it's best we all get on the same
                       exact page, and PRONTO.

                       Copying others to ensure we get this managed as soon as possible.

                       Thanks!


                       Sent from my iPhone


                            On
                            Or Sep 20, 2022, at 3:22 PM,
                            W
                                                               wrote:


                                Dear workgroup and

                            I am getting several questions from international and Dutch press
                            why the age criteria have been removed from the adolescent
                            chapter
                            And especially what happened between the previous version and
                            final version in the SOC

                            Can you please inform me what your arguments were to remove
                            it and why this happend in such a late phase

                            Thanks




CONFIDENTIAL -— SUBJECT TO PROTECTIVE ORDER                                                      BOEAL WPATH 137247
                                                                                                 BOEAL_WPATH_137247


                                                         120
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 122 of 182




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                           BOEAL_WPATH_137248
                                                                     BOEAL_WPATH_ 137248

                                             121
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 123 of 182




                                  122
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 124 of 182




                                  123
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 125 of 182




                                  124
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 126 of 182




                                  125
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 127 of 182




                                  126
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 128 of 182




                                  127
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 129 of 182




                                  128
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 130 of 182




                                  129
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 131 of 182




                                  130
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 132 of 182




                                  131
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 133 of 182




                                  132
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 134 of 182




                                  133
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 135 of 182




                                  134
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 136 of 182




                                  135
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 137 of 182




                                  136
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 138 of 182




                                  137
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 139 of 182




                                  138
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 140 of 182




                                  139
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 141 of 182




                                  140
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 142 of 182




                                  141
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 143 of 182




                                  142
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 144 of 182




                                  143
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 145 of 182




                                  144
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 146 of 182




                                  145
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 147 of 182




                                  146
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 148 of 182




                                  147
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 149 of 182




                                  148
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 150 of 182




                                  149
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 151 of 182




                                  150
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 152 of 182




                                  151
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 153 of 182




           Re: New York Post article
           From:       Eli Coleman <
           To:
           Cc:


           Date:       Mon, 03 Oct 2022 09:25:17 -0400

           It led to them formally not opposing the SOC. Yes this is highly confidential.

           Eli

           On Mon, Oct 3, 2022 at 8:22 AM                                                  wrote:
            Hi everyone,
            I thought that removing the age criteria led to AAP's endorsement. Did they take their
            endorsement back? I also am under the impression that this is highly, highly confidential.
            Thanks,




             On Mon, Oct 3, 2022 at 8:50 AM Eli Coleman <                   > wrote:
              Yes, I think it is important that we coordinate with them. We do not have to have them sign on -
              but it would be good to not have them oppose.

                 Best,

                 Eli

                 On Mon, Oct 3, 2022 at 1:59 AM                                                    wrote:
                   Yes, good idea.

                   I am telling journalists that we are preparing a scientific paper on the age criteria. I
                   will start working on it soon, but we first need the AAP support officially before
                   publication in IJTH.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                               BOEAL WPATH 137429
                                                                                                         BOEAL_WPATH_137429


                                                            152
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 154 of 182




                Van:
                Verzonden: zondag 2 oktober 2022 19:48
                Aan: Dr. Marci Bowers <                           >
                CC:




                Onderwerp: Re: New York Post article

                That would be great, many thanks!

                On Sun, Oct 2, 2022 at 8:42 AM Dr. Marci Bowers <                           > wrote:
                 that yes absolutely great. i can forward to blaine to set a zoom meeting, if that works?

                  Kindly

                  Marci Bowers MD
                  WPATH President
                  Trevor Project Board of Directors




                  Standing tall in times of darkness


                    On Oct 1, 2022, at 7:54 PM,                                        wrote:


                    I agree. Let's brainstorm and very soon. I feel like the continued coverage of this
                    without our proactive message is really problematic and can only get worse. We are
                    not creating the messages.

                    Sent from my iPhone


                       On Oct 1, 2022, at 3:33 PM,
                       wrote:



                       Hi everyone,

                       I think we do need to come up with a PR strategy and would suggest that we
                       set up a meeting to get all of us on the same page about the plan and
                       strategy. I think it's important for those of us in the child/adolescent space to
                       be able to represent our chapters as well, considering we are the content
                       experts and have a detailed understanding of the pediatric landscape. It is also
                       important to be consistent and unified as an organization.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                            BOEAL WPATH 137430
                                                                                                      BOEAL_WPATH_137430


                                                          153
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 155 of 182




                     On Sat, Oct 1, 2022 at 6:27 PM Dr. Marci Bowers <                             >
                     wrote:
                                yes agreed, this would be excellent. but we need centralized
                       authority, not fragmented individual messaging that is contradictory or does
                       not always align with what others say. this is the role of wpath and the
                       presidency, i feel. these experts would be excellent but let's run it through
                       the lens that i've been getting to convey before publication. my response is
                       slightly different than yours...
                                               yours..... similar enough but problematic when there
                       are differences that can be exposed. this is not the time for caution but for
                       affirmative messaging that is measured and responsible.

                       Kindly

                       Marci Bowers MD
                       WPATH President
                       Trevor Project Board of Directors




                       Standing tall in times of darkness


                         On Oct 1, 2022, at 11:21 AM
                         wrote:


                         A new article on the SOC with info about my presentation, that is
                         slightly more accurate, has been just published by the New York Post.

                         The second part of the quote, and my sentence which is left out of all
                         this media, is that we did not want to write a chapter that was so vague
                         that it failed to provide standards or guidance. What I was saying, for
                         example, is that we did not want to specify the exact paper and pencil
                         measures used in an assessment of children, that it would be onerous,
                         preclude individualized care, and not accessible in some parts of the
                         world, and could be problematic for some providers because they
                         would then be unable to practice in line with these standards.

                         What I would like to request is that we write an op ed or ask one of our
                         journalist contacts to write about this. An op ed about the child air
                                                                                           charter
                         is more in our control and was something I had discussed with
                         before the SOC 8 even came out and before Wpath. This story is not
                         going away. I feel we need to be proactive. It could also be an op Ed
                         about both the child and adolescent chapters, co written by me and
                               or me and                        Whatever we do, it should be
                         immediate before this gets too out of control.

                         https://nypost.com/2022/09/29/kid-gender-guidelines-not-driven-by-
                         science/

                         Sent from my iPad




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                             BOEAL WPATH 137431
                                                                                                       BOEAL_WPATH_137431


                                                        154
       Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 156 of 182




                       Eli Coleman, PhD.
                       Academic Chair in Sexual Health
                       Professor and Director
                       The Institute for Sexual and Gender Health
                       University of Minnesota Medical School
                       Family Medicine and Community Health
                       sexualhealth.umn.edu




                  Eli Coleman, PhD.
                  Academic Chair in Sexual Health
                  Professor and Director
                  The Institute for Sexual
                                    Sexw..1 ;Tul
                                            and Gender Health
                  University of Minnesota Medical School
                  Family Medicine and Community Health
                  sexualhealth.umn.edu
                  sexuaiheaith.umn.edu




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                            BOEAL_WPATH_137432
                                                                      BOEAL WPATH 137432

                                                                155
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 157 of 182




                                  156
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 158 of 182




                                  157
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 159 of 182




                                  158
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 160 of 182




                                  159
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 161 of 182




                                  160
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 162 of 182




                                  161
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 163 of 182




                                  162
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 164 of 182




                                  163
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 165 of 182




                                  164
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 166 of 182




                                  165
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 167 of 182




                                  166
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 168 of 182




                                  167
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 169 of 182




                                  168
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 170 of 182




                                  169
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 171 of 182




                                  170
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 172 of 182




                                  171
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 173 of 182




                                  172
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 174 of 182




                                  173
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 175 of 182




                                  174
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 176 of 182




                                  175
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 177 of 182




                                  176
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 178 of 182




                                  177
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 179 of 182




                                  178
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 180 of 182




                                  179
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 181 of 182




                                  180
Case 2:22-cv-00184-LCB-CWB Document 560-38 Filed 05/27/24 Page 182 of 182




                                  181
